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                      Exhibit X

                      REDACTED
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      From:      Andrew Kutscher
      Sent:      Tue 9/04/2012 10:46 AM (GMT -7)
      To:              Doc Review
      Cc:              2LR Team; Todd Riegler
      Bcc:
      Subject: RE: Privilege Calls


      Of course, if you aren't comfortable making this type of determination (or if you feel it requires
      nuance) then tag the doc privilege. But, if you see the email went outside of
      or their attorneys and consultants (and are sure that priv was broken) then YOU can skip the priv
      tag.




      From: Andrew Kutscher
      Sent: Tuesday, September 04, 2012 1:29 PM
      To:          Doc Review
      Cc:          2LR Team; Todd Riegler
      Subject: Privilege Calls



      Hey First-Level Review Team,



      I hope that everyone had a good long weekend. I want to talk for a second about privileged
      documents. Up until now the hstruction had been that if there was a whiff of priv you should
      mark it privileged. That still generally holds, however, if you see and know that priv has been
      broken you may now refrain from tagging it priv.



      Thanks,

      Andrew



       Andrew Kutscher
      Associate,
      Quinn Emanuel Urquhart & Sullivan, LLP

       51 Madison Avenue, 22nd Floor
       New York, NY 10010
       21.28497475 Direct
       212.8497000 Mren Office Number
       21.2.84971 00 FAX




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